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       e::.AO 2458 (CASD) (Rev. 8/11) Judgment in a Criminal Case
                 Sheet 1
                                                                                                                                    JAN - 7 2014




                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                          v.                                        (For Offenses Committed On or After November I, 1987)

                            KENDRICK GREEN [6]                                      Case Number: l2CIU278-BTM
                                                                                    OLIVER CLEARY
                                                                                    Defendant's Attorney
      REGISTRATION NO. 32710298

      o
      o
      THE DEFENDANT:
          pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _........,_ _ _ _ _ _ _ _ _ _ _ _ _ __

       181 was found guilty on count(s) 1,4,10,13 OF THE INDICTMENT
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the follOWing offense(s):
                                                                                                                                             Count
      Title & Section                          Nature of Offense                                                                            Number(s)
 18 USC 1349                            CONSPIRACY TO COMMIT MAIL AND WIRE FRAUD                                                                 1
 18 USC 1341                            MAILFARUD                                                                                               4
 18 USC 1343                            WIRE FRAUD                                                                                              10
. 18 USC 1956(h)                        CONSPIRACY TO LAUNDER MONETARY INSTRUMENTS                                                              13




         The defendant is sentenced as provided in pages 2 through _ _. :.4_ _ of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
   o   The defendant has been found not guilty on count(s)
  181 Count(s) The remaining counts of the Indictment ------------------------~
                                                                  is 0
                                                                                    I ----------------------
                                                                       arel8l dismi$sed on the motion of the United States.
   f8I Assessment: $400 ($100 per count) to be paid at the rate of$25.00 per quarter through the Inmate Fi$ancial Responsibility Program. The
       balance due within the first (1st) year of Supervised Release.                                          .


   181 Fine waived                                    181 Forfeiture pursuant to order filed
                                                                                                 ----+-----12/11/2013           , incorporated herein.
         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 3(> days of any change of name, residence,
                                                                                                               I
  or mailing address until al\ fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               DECEMBER 16,2013




                                                                               UNITED STATES DISTRIGT JUDGE
                                                                                                                   I


                                                                                                                                               12CR1 278-BTM
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AO 2458 (CASD) (Rev . 8/ 11) Judg me nt in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment -   Page   2     of      4
 DEFENDANT: KENDRICK GREEN [6]
 CASE NUMBER: 12CR1278-BTM

                                                              IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          THIRTY-SIX (36) MONTHS AS TO COUNTS 1, 4, 10 AND 13 CONCURRENT AS TO ALL COUNTS .


                                                                                            ~lRJ~
                                                                                           BARRY TE MOSKOWITZ
    o Sentence imposed pursuant to Title 8 USC Section 1326(b).                            UNITED STATES DISTRICT ruDGE
    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.    Op·m.     on
                as notified by the United States Marshal.

     181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          181 before 12:00 P.M. on February 7, 2014 or to this Court by 2:00 P.M. on that same date .
           D as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                 RETURN

 1 have executed this judgment as follows :

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.



                                                                                          UNITED STATES MARSHAL

                                                                       By _________________________________________
                                                                                       DEPL:TY UN ITED STATES MARSHAL




                                                                                                                     12CR1278-BTM
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AO 245B (CASD) (Rev. 8/ II) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                              Judgment- Page __3__ of _ _..;.4_ __
DEFENDANT: KENDRICK GREEN [6]
CASE NUMBER: 12CR1278-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS AS TO COUNTS 1,4,10 AND 13.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime .
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance . The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court .                                         --

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicab Ie.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA An alysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U. S.c. § 16901 , et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides. works, is a student, or
       was convicted ofa qualifying offense. (Chec k if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation , it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probati on officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shaH support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation , unless excused by the probation officer for schooling, training, or other
        acceptable reasons ;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegaHy sold, used, distributed , or administered;
  9)    the defendant shaH not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within se venty-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                       12CR1278-BTM
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                    Sheet 4 -   Special Conditions
                                                                                                        Judgment- rage ~ of _~4_ _
       DEFENDANT: KENDRICK GREEN [6]                                                               II
       CASE NUMBER: 12CR1278-BTM




                                                 SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o counseling
  Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
              sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written pennission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under federal law.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
o report
  Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
         and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment infonnation to the probation officer and the Court by the mental health provider.



o Reside in a Sober Living Facility for One          (I) year after release from the RRC.


o Abstain from all use of Alcohol.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
181 All employment must be pre-approved by the Probation Officer.
o   Complete            hours of community service in a program approved by the probation officer within
o
o If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                    12CR1278-BTM
